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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


 GRUPO PETROTEMEX, S.A. DE C.V. and
 DAK AMERICAS LLC,
                                                 Civil Action No. 16-cv-02401 SRN-JSM
                     Plaintiffs,

 v.                                              OPPOSITION TO DEFENDANT’S
                                                 MOTION TO DISMISS COMPLAINT
 POLYMETRIX AG,                                  PURSUANT TO FED. R. CIV. P.
                                                 12(b)(1)
                  Defendant.
 ____________________________________/


      Plaintiffs Grupo Petrotemex, S.A. De C.V. and DAK Americas LLC

(“GPT/DAK”) respectfully submit this opposition to Polymetrix AG’s (“Polymetrix”)

Motion to Dismiss Plaintiffs’ Complaint Pursuant to Fed. R. Civ. P. 12(b)(1).

I.    INTRODUCTION

      The Court should deny Polymetrix’s belated motion to dismiss the complaint

under Rule 12(b)(1) because the motion is contrary to well-settled law. Unlike typical

challenges to subject matter jurisdiction in patent cases involving, e.g., issues of

ownership and/or the plaintiff’s lack of standing to bring suit, Polymetrix has asserted

here—in direct contradiction to controlling Federal Circuit authority and without

citing a single supporting case on point—that the Court lacks subject matter jurisdiction

because there has allegedly been no importation of polyethylene terephthalate (“PET”)

into the U.S. by its customer, Indorama Ventures Poland Sp. z o.o.              (hereinafter,

“Indorama Poland”). As explained below, however, the Federal Circuit already squarely



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addressed this exact issue in a 2008 decision that is directly on point, holding that it is

improper as a matter of law to treat the question of whether accused infringing products

are imported into the U.S. as an issue impacting subject matter jurisdiction. Litecubes,

LLC v. N. Light Prods., 523 F.3d 1353, 1357 (Fed. Cir. 2008). Because Polymetrix failed

to mention—let alone distinguish—the Federal Circuit’s Litecubes decision, which is

controlling and directly adverse authority, as discussed below, counsel for GPT/DAK

provided a courtesy copy to counsel for Polymetrix on March 27, 2018, together with a

letter requesting that Polymetrix withdraw the instant motion or else explain why the

motion is not frivolous in light of such authority. Polymetrix failed to reply as of the

filing of this opposition.

        Moreover, GPT/DAK disputes Polymetrix’s assertion of no importation here

because Polymetrix refers in its motion only to importation by “ocean ship” and ignores

importation of PET into the U.S. by air. Indeed, the very same subscription database

Polymetrix relies on shows shipments of PET from Poland entering the U.S. through the

Seattle-Tacoma International Airport in Washington and Logan International Airport in

Massachusetts in 2016, and GPT/DAK have served a subpoena on U.S. Customs and

Border Protection (“CBP”) for additional information regarding such importation.

       Ironically, while Polymetrix baselessly claims that GPT/DAK are seeking an

“unconstitutional advisory opinion,” in reality it is Polymetrix that is seeking such an

advisory opinion by asserting that no justiciable controversy exists with respect to

unaccepted offers to sell the EcoSphere™ technology in the U.S.                Polymetrix

acknowledges (as it must) that GPT/DAK did not allege direct infringement by


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Polymetrix under 35 U.S.C. § 271(a) in the complaint. Thus, Polymetrix’s argument with

respect to unaccepted offers for sale in the U.S. is not ripe for the Court’s consideration.

Nevertheless, the case law cited by Polymetrix in support of its argument is inapposite.

       Finally, when it responded to the complaint in 2016 via its answer (Dkt. 16 at ¶ 5)

and amended answer (Dkt. 43 at ¶ 5), Polymetrix unequivocally admitted twice that the

Court has subject matter jurisdiction over this case. Although subject matter jurisdiction

cannot be conferred by consent, Polymetrix cannot take contrary positions on this issue.

Both GPT/DAK and the Court are certainly entitled to know whether any bona fide

challenge to jurisdiction exists, and if Polymetrix’s position regarding subject matter

jurisdiction has changed, then it should have first moved for leave to file a second

amended answer. Waiting nearly two years to file a Rule 12(b)(1) motion, during which

time GPT/DAK have filed two motions to compel, and settlement negotiations have

stalled, is inconsistent with a bona fide challenge to jurisdiction, and smacks of a

litigation tactic to further delay progress in this case. Accordingly, the motion must be

denied.

II.    STATEMENT OF FACTS

       Polymetrix’s motion contains several misstatements of fact and gross

mischaracterizations that require correction. For example, Polymetrix repeatedly makes

baseless accusations regarding what GPT/DAK supposedly knew or did not know when

filing the complaint, such as allegations that it “was unknown to GPT/DAK at the time

they filed their Complaint [that “[t]he Poland plant is the only EcoSphere™ plant in

commercial operation in the world”] and they only learned of its existence after this


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lawsuit was filed when Polymetrix’s counsel informed them of its existence and the fact

that there were no EcoSphere™ plants built or operating in the U.S.” (Dkt. 139 at 2).

Polymetrix even goes so far as to surmise that “if truth be told by GPT/DAK, the sole

impetus for filing their Complaint was a subjective fear of a potential future harm based

upon the hypothetical and speculative importation into the U.S. of PET manufactured at

the China plant whenever it commences commercial operation.”             (Id. at 3).   Not

surprisingly, these assertions are totally unsupported by Polymetrix. They are also belied

by GPT/DAK’s complaint, which again does not allege direct infringement by

Polymetrix under § 271(a) or even so much as mention any China plant whatsoever.

      In any event, GPT/DAK has noticed the depositions of Martin Müller (Chief

Executive Officer of Polymetrix) and Andreas Christel (Direct of Process Technology at

Polymetrix), both of whom submitted declarations in support of the instant motion, in

order to test and better understand their testimony. (Schweibenz Decl. at ¶¶ 2-3).

      Further, during the parties’ meet-and-confer teleconference on March 7, 2018

regarding the instant motion, counsel for GPT/DAK specifically asked counsel for

Polymetrix to provide any supporting legal authority.        (Id. at ¶ 4).    Counsel for

Polymetrix did not indicate that any contrary controlling authority exists, and further,

specifically referred only to the Supreme Court’s 2007 MedImmune decision as

supporting authority. (Id.) On March 27, 2018, counsel for GPT/DAK advised counsel

for Polymetrix of directly adverse controlling authority in Litecubes, and provided a

courtesy copy for reference. (Id. at ¶ 5). Counsel for GPT/DAK further requested that

Polymetrix withdraw the instant motion, or else explain why the motion is not frivolous


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in light of such authority. Polymetrix failed to reply as of the filing of this opposition.

(Id.)

III.    ARGUMENT

        A.     It is Well-Settled that No Jurisdictional Issue is Present Here

        Polymetrix’s entire argument that the Court lacks subject matter jurisdiction over

this suit because GPT/DAK allegedly cannot prove that Polymetrix imported PET made

by an infringing process into the U.S. is contrary to well-settled law. In Litecubes, the

Federal Circuit squarely addressed this exact issue. In that case, following a jury verdict

of patent and copyright infringement, the defendant filed a motion to dismiss for lack of

subject matter jurisdiction on the grounds that it neither sold nor imported the allegedly

infringing products into the U.S. The district court denied the motion on the grounds that

the defendant imported the goods into the U.S., and the defendant appealed. Noting its

independent obligation to properly determine its own jurisdiction, the Federal Circuit

requested that the parties address the following issue at oral argument:

        Whether failing to establish that an alleged infringer “makes, uses, offers to
        sell, or sells any patented invention, within the United States or imports into
        the United States any patented invention” is sufficient to divest the federal
        courts of subject matter jurisdiction over a patent infringement action, or
        instead whether the location of the allegedly infringing activity is a factual
        element of the claim which must be proven to show patent infringement but
        which does not affect the subject matter jurisdiction of the federal courts.

523 F.3d at 1359 (emphasis in original).

        In a lengthy discussion, the Federal Circuit affirmed the district court’s denial of

the motion to dismiss, but on different grounds. Specifically, the Federal Circuit found

that “[t]he district court erred in treating the issue of whether the goods had been


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imported into the United States as an issue impacting its subject matter jurisdiction.” Id.

at 1357. “A plaintiff must prove that allegedly infringing activity took place in the

United States to prevail on claims of patent or copyright infringement, but as with any

other element of the claims, failure to do so does not divest the federal courts of subject

matter jurisdiction over the action.” Id.

       The Federal Circuit in Litecubes discussed, inter alia, the Supreme Court’s

unanimous opinion in Arbaugh v. Y & H Corp., 546 U.S. 500 (2006), which addressed

the distinction between a statutory limitation that is truly jurisdictional and one that is

simply an element of a claim that must be established on the merits. In that case, the

Supreme Court considered whether Congress, by permitting Title VII discrimination suits

only against employers with more than fifteen employees, had intended to limit the

subject matter jurisdiction of the federal courts or merely to list one element of a Title VII

cause of action. Id. at 503. Noting that subject matter jurisdiction and “the essential

ingredients of a federal claim for relief” are “sometimes confused or conflated,” id.

(internal quotation marks omitted), the Court faulted the many “drive-by jurisdictional

rulings” that label the elements of a cause of action as “jurisdictional” without attention

either to indicia of Congressional intent or to the consequences of such a ruling. Id. at

511 (internal quotation marks omitted). Attempting to clarify this area of the law, the

Supreme Court announced a “readily administrable bright line” test for determining when

a statutory requirement is jurisdictional:

       If the Legislature clearly states that a threshold limitation on a statute’s
       scope shall count as jurisdictional, then courts and litigants will be duly
       instructed and will not be left to wrestle with the issue. But when Congress


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       does not rank a statutory limitation on coverage as jurisdictional, courts
       should treat the restriction as nonjurisdictional in character.

Id. at 515-16 (internal quotation marks, citation, and footnote omitted). Applying that

test to the case before it, the Supreme Court held in Arbaugh that the threshold number of

employees for application of Title VII was an element of plaintiff’s claim for relief, not a

jurisdictional issue. Id. at 516.

       In patent cases, as the Federal Circuit clearly articulated in Litecubes, “Congress

has not clearly stated in 35 U.S.C. § 271 or in any other statute that § 271’s requirement

that the infringing act happen within the United States is a threshold jurisdictional

requirement as opposed to an element of the claim.” 523 F.3d at 1363 (emphasis added).

“To the contrary, the statute, which creates liability for patent infringement on ‘whoever

without authority makes, uses, offers to sell, or sells any patented invention, within the

United States or imports into the United States any patented invention during the term of

the patent therefore’ in no way distinguishes the territorial limitation from any of the

other elements necessary to show infringement.” Id; see also Federal-Mogul World

Wide v. Mahle GmbH, 2011 U.S. Dist. LEXIS 110013, at *26-28 (E.D. Mich. Sept. 27,

2011) (following Litecubes and denying a Rule 12(b)(1) motion to dismiss an amended

complaint alleging, inter alia, induced and contributory infringement).

       Because Litecubes is directly on point and controlling, it is frankly unacceptable

that Polymetrix did not attempt to distinguish—or even mention—this case in its motion.

Not surprisingly, Polymetrix also failed to provide any supporting authority on point.

During the parties’ meet and confer on the instant motion, counsel for GPT/DAK



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specifically requested that Polymetrix provide any supporting authority so that GPT/DAK

could properly consider the legal bases for Polymetrix’s position, to which counsel for

Polymetrix responded by initially refusing, but ultimately referring specifically only to

the Supreme Court’s 2007 MedImmune decision.                (Schweibenz Decl. at ¶ 4).

MedImmune, however, held that a licensee is not required to terminate or materially

breach its license agreement in order to bring a declaratory judgement action challenging

the validity or infringement of the licensed patent, and more generally described the

standard for determining whether a justiciable case or controversy exists between the

parties in a declaratory judgement action. 549 U.S. 118, 127 (2007). MedImmune and

the other authority cited by Polymetrix in its motion say absolutely nothing about

whether the alleged absence of importation is sufficient to divest federal courts of subject

matter jurisdiction in patent cases. Accordingly, counsel for GPT/DAK informed counsel

for Polymetrix during the meet and confer that the types of arguments Polymetrix

planned to raise in its motion are more akin to a failure to state a claim under Rule

12(b)(6), which Polymetrix already waived its right to pursue by failing to timely file

such a motion.    (Schweibenz Decl. at ¶ 4).       Indeed, Polymetrix’s theory based on

generalities set forth in MedImmune and similar cases is not only directly contrary to the

Federal Circuit’s holding in Litecubes, but it is in effect asking the Court for exactly the

kind of “drive-by jurisdictional ruling” that the Supreme Court cautioned against in

Arbaugh.

       In light of the foregoing, the instant motion must be denied, and in fact never

should have been filed by Polymetrix in the first place.


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       Nevertheless, even if the Court were to consider the case at bar to be one in which

the merits of GPT/DAK’s claims (i.e., ultimate importation of a product made by an

infringing process for purposes of indirect infringement) are inextricably bound with

subject matter jurisdiction (which they clearly are not, as explained by the Federal Circuit

in Litecubes), Polymetrix’s motion should still be denied. Courts have widely recognized

that where the question of jurisdiction is intertwined with the merits of the case, the

proper course of action is to reserve for a later proceeding both the jurisdictional

question, see, e.g., Montez v. Dep’t of Navy, 392 F.3d 147, 150 (5th Cir. 2004) (noting

that where there is an “intertwined attack” on jurisdiction and merits, “resolution of the

jurisdictional issue on a 12(b)(1) motion [is] improper”), and the merits of the case. See,

e.g., Continental Cas. Co. v. Dep’t of Highways, State of La., 379 F.2d 673, 675 (5th Cir.

1967) (“[W]hen the issue of the jurisdictional amount is intertwined with the merits of the

case, courts should be careful not to decide the merits, under the guise of determining

jurisdiction, without the ordinary incidents of a trial.”); see also Osborn v. U.S., 918 F.2d

724, 730 (8th Cir. 1990) (noting that a federal court should not decide a factual dispute

over jurisdiction if the jurisdictional issue is “so bound up with the merits that a full trial

on the merits may be necessary to resolve the issue”); Estate of Boeckmann v.

Sprint/United Mgmt. Co., 2018 U.S. Dist. LEXIS 30399, at *3 (D. Minn. Feb. 26, 2018)

(In a case “where the issue of jurisdiction and the substantive merits of the underlying

claim are so closely intertwined,” the Court was “reluctant to resolve the numerous

disputed facts that the undeveloped record presents.”). The reason for postponing the

jurisdictional question is plain—“[t]o the extent that the jurisdictional question and the


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merits are intertwined, a plaintiff who has yet to undertake discovery almost certainly has

not had the chance to fully ascertain the jurisdictional facts.” Edinburgh v. Am. Sec. Ins.

Co., 2010 U.S. Dist. LEXIS 110634, at *18-19 (E.D. La. Nov. 29, 2010).               Here,

GPT/DAK is pursuing party discovery from Polymetrix after a litigation stay pending

potential settlement was lifted, and GPT/DAK also served a subpoena on CBP seeking

third-party discovery regarding the infringing importation of PET into the U.S. from

Poland. Accordingly, for this additional reason, Polymetrix’s motion should be denied.

       B.     A Justiciable Controversy Exists Under Article III

       Aside from a flawed legal theory based on MedImmune 1 that ignores controlling

Federal Circuit precedent, Polymetrix’s motion is premised almost entirely on the alleged

absence of importation of PET into the U.S. by its customer, Indorama Poland. 2 Indeed,


1
   In a bizarre twist of facts and logic, Polymetrix claims that “GPT/DAK is effectively
seeking a declaratory judgment as a remedy, especially with respect to the Poland and
China plants since there has been no importation of PET from either of these plants to
date.” (Dkt. 139 at 13). Nowhere in the complaint, however, do GPT/DAK seek a
declaratory judgment or even refer to 28 U.S.C. § 2201. Polymetrix’s fundamental
misunderstanding of the posture of this case is further underscored by its purported
reliance on Luminara Worldwide, LLC v. Liown Elecs. Co. Ltd., 2017 U.S. Dist. LEXIS
71619 (D. Minn. Mar. 29, 2017) (J. Nelson). As the Court is well aware, that case
involved an actual declaratory judgment claim by the accused infringers that their design-
around prototype candle, which did not exist until at least nine months after their
declaratory judgment claim was filed, did not infringe the patents-in-suit. Id. at *24-27.
Accordingly, the facts in Luminara in no way resemble the present case.
2
  Polymetrix protests that it was “legally entitled to provide equipment and engineering
used in the construction of the EcoSphere™ plants in Poland and China because those
processes are located and operated outside of the U.S.” and that “Polymetrix should not
be hailed into court in the U.S. simply because GPT/DAK fears that someday PET may
be imported into the U.S. from one of these plants.” (Dkt. 139 at 4) (emphasis in
original). Here again, Polymetrix misunderstands both the law and GPT/DAK’s
complaint. While “purely extraterritorial conduct cannot constitute direct infringement

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Polymetrix dutifully cites to “publicly available shipping database data” supposedly

showing that “there has been no exportation of PET manufactured at the Poland plant into

the U.S. since it began commercial operation in 2014.” (Dkt. 139 at 9; Dkt. 142 at ¶ 2).

Polymetrix’s database search, however, is limited to “ocean ship manifest data.” (Dkt.

142 at ¶ 2). Polymetrix apparently failed to search for or even consider shipments of PET

into the U.S. by air. The very same publicly available subscription database (Datamyne)

Polymetrix relies on shows shipments of PET from Poland into the U.S. through both the

Seattle-Tacoma International Airport in Washington and Logan International Airport in

Massachusetts in 2016. (Schweibenz Decl. at ¶¶ 6-7). The identity of the shipper,

importer, exporter, and/or consignee for these shipments does not appear to be publicly

available, however. Thus, GPT/DAK served a third-party subpoena on CBP seeking this

and other information relating to such shipments of PET from Poland into the U.S. (Id.

at ¶ 8). Based on this factual dispute alone, Polymetrix’s motion must be denied.

       Polymetrix also argues that there is no justiciable controversy over unaccepted

offers to sell the EcoSphere™ technology in the U.S.          (Dkt. 139 at 27-30).    This

argument is unavailing for two reasons.            First, GPT/DAK did not allege direct

infringement by Polymetrix under 35 U.S.C. § 271(a) in the complaint Polymetrix seeks

to dismiss. Rather, the complaint asserts only induced and contributory infringement

against Polymetrix under §§ 271(b) and (c). (Dkt. 1 at ¶¶ 26-43). Polymetrix is thus

of a U.S. patent … § 271(a) is not the only provision of § 271.” Merial Ltd. v. Cipla Ltd.,
681 F.3d 1283, 1302 (Fed. Cir. 2012). “In particular, § 271(b), which defines
infringement by inducement, contains no such territorial proscription.” Id. GPT/DAK’s
complaint alleges infringement under §§ 271(b) and (c), not under § 271(a). (Dkt. 1 at ¶¶
26-43).

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requesting an unconstitutional advisory opinion that if and when GPT/DAK amend the

complaint to allege direct infringement by Polymetrix through offers to sell the

EcoSphere™ technology in the U.S., such offers to sell equipment for performing a

patented process cannot constitute direct infringement as a matter of law. 3 As Polymetrix

correctly explains in its motion, this Court cannot give an opinion advising what the law

would be on a hypothetical state of facts. For this reason, Polymetrix’s arguments in

connection with unaccepted offers for sale should be disregarded by the Court as simply

unripe.

      Second, Polymetrix relies on inapposite cases which hold merely that the sale of

equipment to perform a patented process cannot be the sole basis for finding direct

infringement under § 271(a). Although GPT/DAK do not dispute the continued viability

of Joy Techs. v. Flakt, Inc., 6 F.3d 770 (Fed. Cir. 1993), upon which Polymetrix primarily

relies, that case was decided before the 1994 amendments to the statute which added

“offers to sell” as a new basis for direct infringement liability, thus contemplating

liability for acts that occur prior to the actual use of the patented invention. Moreover,

Joy Techs. simply states that “[a] method claim is directly infringed only by one

practicing the patented method,” id. at 775 (emphasis in original), and does not address,

for example, contributory infringement under § 271(c) for selling a product especially

designed to practice a patented method. In fact, the Federal Circuit in dicta specifically

3
   GPT/DAK reserve their right to seek permission from the Court to file a motion to
amend their complaint after receiving further party discovery from Polymetrix and third-
party discovery from several outstanding subpoenas served by GPT/DAK both before
and after the Court stayed this litigation pending unsuccessful settlement discussions
between the parties.

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contemplated that the sale of equipment to perform a patented process may give rise to

liability for contributory infringement:

       That the sale of equipment to perform a process is not a direct infringement
       of the process within the meaning of section 271(a) is further highlighted
       by 35 U.S.C. § 271(c) (1988) … which provides in pertinent part that such
       a sale may be a contributory infringement. To hold that the sale of
       equipment which performs a patented process is itself a direct infringement
       would make that portion of section 271(c) relating to the sale of an
       apparatus for use in practicing a patented process meaningless.

Id. at 774.

       Moreover, Ricoh Co., Ltd. v. Quanta Computer, Inc., 550 F.3d 1325 (Fed. Cir.

2008), upon which Polymetrix also relies, actually strongly supports GPT/DAK’s

position. The Federal Circuit in that case—decided after the 1994 amendments to the

statute adding “offers to sell” as a new basis for direct infringement liability—specifically

declined to “determine whether a process may ever be sold so as to give rise to liability

under § 271(a)” and ruled only that the sale or offer for sale of computer software

containing instructions to perform the patented method was insufficient in that case to

give rise to liability for direct infringement. Id. at 1334-36. The court then went on to

analyze the defendant’s liability for induced and contributory infringement under §§

271(b) and (c). The court noted that the language of § 271(c) “incorporates the core

notion that one who sells a component especially designed for use in a patented invention

may be liable as a contributory infringer,” and that the legislative history makes clear that

“[o]ne who makes a special device constituting the heart of a patented machine and

supplies to others with directions (specific or implied) to complete the machine is

obviously appropriating the benefit of the patented invention.” Id. at 1337. The Court


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acknowledged that “the fundamental purpose of contributory infringement liability” is to

permit the enforcement of rights in a protected work, even where it is impossible to

pursue the direct infringers. Id. at 1338. “[T]he only practical alternative [is] to go

against the distributor … for secondary liability.” Id. (quoting Metro-Goldwyn-Mayer

Studios, Inc. v. Grokster, Ltd., 545 U.S. 913, 929-30 (2005)).               With respect to

inducement, the Federal Circuit found that the district court erred in discounting certain

evidence of defendant’s intent that its accused disk drives be used to infringe the method

claims of the asserted patents. Id. at 1339-43. Thus, even though there was no finding of

direct infringement in Ricoh, the Federal Circuit reversed the lower court’s grant of

summary judgment of no induced or contributory infringement and remanded for a

determination of whether a material issue of fact exists regarding the defendant’s specific

intent to induce infringement, and whether the defendant’s products had substantial non-

infringing uses. In other words, the Ricoh case—which was decided after the 1994

amendments to the statute adding “offers to sell” as a new basis for direct infringement

liability—supports the proposition that a sale or offer for sale of equipment that performs

a patented process may, in fact, give rise to liability for indirect infringement.

       Likewise, NTP, Inc. v. Research in Motion, Ltd., 418 F.3d 1282 (Fed. Cir. 2005),

cited by Polymetrix, did not involve claims of indirect infringement.                Further, as

Polymetrix concedes, the Federal Circuit in that case explicitly stated that it “need not

and do[es] not hold that method claims may not be infringed under the ‘sells’ and ‘offers

to sell’ prongs of section 271(a).” Id. at 1320-21.




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       Accordingly, for the above-stated reasons, a justiciable controversy exists between

the parties, and the authority relied on by Polymetrix to the contrary is inapposite.

       C.     Polymetrix Already Admitted Twice that the Court has Subject Matter
              Jurisdiction

       Polymetrix unequivocally conceded that the Court has subject matter jurisdiction

over this case when it filed its answer to the complaint almost two years ago (Dkt. 16 at ¶

5), and when it filed its amended answer thereafter (Dkt. 43 at ¶ 5). If Polymetrix

seriously believes that the Court does not have subject matter jurisdiction over this case,

then it should have moved to further amend its answer long before filing the instant

motion. “[A]fter all, although subject matter jurisdiction cannot be conferred by consent,

both opposing counsel and th[e] Court are entitled to know whether any bona fide

challenge to jurisdiction exists.” Biggs v. Winpack Portion Packaging, Inc., 1995 U.S.

Dist. LEXIS 15520, at *2 (N.D. Ill. Oct. 13, 1995) (criticizing defendant for failing to

admit or deny subject matter jurisdiction in its answer). There is no bona fide challenge

to jurisdiction here because (1) controlling Federal Circuit authority in Litecubes clearly

holds that the question of whether accused infringing products are imported into the U.S.

is not a jurisdictional issue, and (2) a justiciable controversy clearly exists between the

parties for at least the reasons set forth above. 4 The instant motion is nothing more than a


4
  As counsel for GPT/DAK indicated to counsel for Polymetrix during the parties’ meet
and confer on the present motion, all of Polymetrix’s assertions regarding the sufficiency
of the allegations in the complaint are in effect arguments that GPT/DAK failed to state a
claim for which relief should be granted. (Schweibenz Decl. at § 4). Accordingly, any
such arguments should have been made “before pleading” in a motion to dismiss under
Rule 12(b)(6), and thus have been waived by Polymetrix. See Fed. R. Civ. P. 12(b).


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doomed Hail Mary attempt by Polymetrix to further delay this case and shirk its

discovery obligations 5 now that a litigation stay has been lifted. 6

IV.    CONCLUSION

       For the reasons set forth above, Polymetrix’s motion to dismiss the complaint

pursuant to Fed. R. Civ. P. 12(b)(1) should be denied.




5
   Polymetrix’s dilatory approach to complying with its discovery obligations is
exemplified by its recent response to GPT/DAK’s second motion to compel. (Dkt. 160).
Indeed, despite the serious allegations in GPT/DAK’s pending motion to compel that
Polymetrix has, inter alia, failed to comply with the Federal Rules of Civil Procedure and
the Court’s orders and directives, Polymetrix did not even bother to meaningfully
respond to the motion, but rather “reserve[d] its right” to submit a “substantive”
opposition at some unidentified point in the future. Id. at 2-3.
6
  While not formally requesting that sanctions be ordered against Polymetrix at this time,
GPT/DAK would not oppose the Court’s sua sponte issuance of an order to show cause
why Polymetrix should not be sanctioned for filing the instant motion, which is clearly
lacking in terms of factual and legal support and therefore objectively baseless. See, e.g.,
Scroggin v. Credit Bureau of Jonesboro, Inc., 2014 U.S. App. LEXIS 15676 (8th Cir.
Aug. 15, 2014) (citing cases) (quoting Chambers v. NASCO, Inc., 501 U.S. 32, 56-57
(1991); Roadway Express, Inc. v. Piper, 447 U.S. 752, 765 (1980). See also Gonzalez-
Servin v. Ford Motor Co., 662 F.3d 931, 934 (7th Cir. 2011) (J. Posner) (characterizing
the failure to disclose directly adverse legal authority as “unacceptable,”
“unprofessional,” and “pointless,” and further noting that “when there is apparently
dispositive precedent, [a litigant] may urge its overruling or distinguishing or reserve a
challenge to it for a petition for certiorari but may not simply ignore it.”).


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March 28, 2018              Respectfully Submitted,

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